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                                   UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF DELAWARE



In re: Corinthian Colleges, Inc., et al.                          §                 Case No. 15-10952
                                                                  §
                                                                                    Lead Case No. 15-10952
                                                                  §
                       Debtor(s)                                  §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 12/31/2024                                                            Petition Date: 05/04/2015



Plan Confirmed Date:08/28/2015                                                       Plan Effective Date: 09/21/2015


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Corinthian Distribution Trust
                                                                                  Name of Authorized Party or Entity




/s/ Amanda R. Steele                                                    Amanda R. Steele
Signature of Responsible Party                                           Printed Name of Responsible Party
01/15/2025
                                                                        Richards, Layton & Finger, PA
Date                                                                    920 King Street
                                                                        Wilmington, DE 19801
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

  a. Total cash disbursements                                                                          $68,436             $29,266,081
  b. Non-cash securities transferred                                                                         $0                    $0
  c. Other non-cash property transferred                                                                     $0                    $0
  d. Total transferred (a+b+c)                                                                         $68,436             $29,266,081

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.       Professional fees & expenses (bankruptcy)
         incurred by or on behalf of the debtor             Aggregate Total
                                                                                         $0            $0             $0              $0
         Itemized Breakdown by Firm
                  Firm Name                          Role
         i                                                                               $0            $0             $0              $0
         ii
         iii
         iv
         v
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         ix
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         xi
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         xiii
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         xv
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        xlv
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        xcviii
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        c
        ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor            Aggregate Total
                                                                                       $0            $0             $0           $0
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i                                                                              $0            $0             $0           $0
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        xix
        xx
        xxi
        xxii
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        xxx
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        xl
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        xlv
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            c
            ci
c.          All professional fees and expenses (debtor & committees)                         $0              $0            $0             $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments            Paid Current                                                Allowed
                                                 Under Plan             Quarter           Paid Cumulative     Allowed Claims       Claims
 a. Administrative claims                                   $37,890              $0                $37,890             $37,890       100%
 b. Secured claims                                         $278,956              $0               $278,956            $278,956        100%
  c. Priority claims                                       $991,857           $6,995              $991,857            $991,857        100%
  d. General unsecured claims                                   $0                   $0                $0          $101,848,052         0%
 e. Equity interests                                            $0               $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                              Yes      No
             If yes, give date Final Decree was entered:
         If no, give date when the application for Final Decree is anticipated:
  b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                   Yes      No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Craig R. Jalbert                                                  Craig R. Jalbert
Signature of Responsible Party                                         Printed Name of Responsible Party
Trustee                                                                01/15/2025
Title                                                                  Date




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                                                     Non-Bankruptcy Table 1-50




                                                    Non-Bankruptcy Table 51-100




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